Case 9:07-cv-80138-Dl\/|l\/| Document 48-1 Entered on FLSD Docl<et 10/03/2007 Page 1 of 5

LAW _OFFICES OF

FRANK J. MCKEOWN, JR., F.A.

CONCOURSE TOWER 1
SU|TE 701
2000 PALM BEACH LAKES BOULEVARD
WEST PALM BEACH, FL 33409

FRANK J. MCKEOWN, clR. Telephone NO. (561) 832-5650
BOARD CERT|F|ED C|V|L TR|AL ATTORNEY (561) 688-9833
SPEC|AL|Z|NG |N EMPLOYMENT LlT|GAT|ON (561) 721-3724

Facsimi|e No. (561) 688-9985

August 28, 2007

REGULAR U.S. MAIL AND
VIA FACSIMILE

Mr. Greg Shavitz

Shavitz Law Group P.A.

1515 South Federal Highway
Suite 404 _ _

Boca Raton, FL 33'432

Re.' $u///'van v, Lana Marks. LTD, ]nc.
D/eu]'uste et a/. v. R] E/ectr/c

Dear Greg:

I received your fax of August 23, 2007 at which time I responded by via
voice mail on the same date regarding your offer to settle Sullivan case for
$22,000. I don’t have $22,000. I have $20,000. Actually I don’t even have that
I have $15,000 but I would recommend and I can assure you that I have enough
control that I will get her to settle it for the $20,000 but I am pretty sure she is
not going to go beyond that number. She is very vindictive person when it
comes to this issue.

Because of the fact that I am going to have to start moving forward in
both of the above cases before I am due I am trying very desperately to get
these matters resolved.

EXH|B|T

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_ _Case 9:07-cv-80138;Dl\/|l\/| Document 48-1 Entered on FLSD Docl<et 10/03/2007 Page 2 of 5

Mrs. Lana Marks.

Re.' $u///'van et a/. vs. Mar/<
August 28, 2007

Page 2 of 2

Please contact me immediately.

Very truly yours,

Frank J. McKeown, Jr.
FJMcK/mk

Case 9:07-cv-80138-Dl\/|l\/| Document 48-1 Entered on FLSD Docl<et 10/03/2007 FPage 13de

Stacey Cohen

 

 

From: Stacey Cohen

Sent: Wednesday, August 29, 2007 7:06 Al\/l
To: 'frankmckeown@juno.com'

Subject: Sullivan Settlement Agreement

Attachments: SETFLEl\/lENT AGREEl\/lENT.doc

Frank:

l know you and Gregg have been negotiating and that you are at $20,000.00. However, Sullivan will not provide a
general release unless she recovers the commissions owed to her from January 2007. She sold $38,000.00
worth of goods that month, and was supposed to receive a commission of 1%, or $380.00. She did not. l added
that much on to the amount Otherwise, l will draft separate agreements for St. Claire and Sullivan and Sullivan
will have a narrow release.

Please confirm receipt of this email.
Thanks.

Stacey H. Cohen, Esq.

SHAV|TZ LAW GROUP, PA

1515 S. Federal Highwayl Suite 404
Boca Raton, Florida 33432

Tel: 561-447-8888

Fax: 561-447-8831

10/3/2007

H\Gas%‘~ie:e¢?ft;?/-edl=aieSDI\/ll\/l mbdte%l:!htf°¢i'sTPREhter@ti dmel_spll§@di@$ee¢wzoo? Page 4 apr-§

LAWOFFICESOF

FRANK J. McKeown, .m., P.A.

CONCOURSE TOWER 1
SU|TE 701
2000 PALM BEACH LAKES BOULEVARD
WEST PALM BEACH, Fl_ 33409

FRANK .i. Md<EowN. JR. Telephone No. 1561) 332-asso
soARD ceRTir=iED clvn_ TRiAL At'roRNEY (561) sea-gass
sPEciAlecNG iN EMPLOYMENT LlT\eATioN (561) 721-3124

Facslmle N<J. (561) 688-9985

August 29, 2007

Mr. Greg Shavit'.z

Shavitz Law Group P.A.

1515 South Federal Highway
Suite 404

Boca Raton, Ft. 33432

Re.' Sullivan v. Lana Marks. LTD, Im:.
Dear Greg:

I received the emai| regarding the above settlement I negotiated with
you $20,000 for all claims. I was never made aware of an additional $380 in
commissions After we agreed on the $20,000 figure I was able with a great deal
of difficulty to convince Ms Marks to go to the $20,000 Egure. She is sending me
a check for that amount. I will not and can not under any circumstances go back
to her for another $380, as Ms. Marks was adamant about the $20,000 figure.

A|so I received the fax of the proposed settlement agreement and
paragraph 3 would have to be changed. The check will be made out to Shavitz
Law Group P.A. Please revise that paragraph. A|so since this is a joint release
because there is a counterclaim the settlement really should recite the
counterclaim and the paragraph in there regarding the fact that the P|aintlffs will
not in the future make any adverse comments or statements regarding the
defendants That probably should come after paragraph 5. Wlm these changes
l will have my client sign and forward a check with the signed reiease.

Very truly yours,

Frank §. ;c§eown, Jr.

 

 

 

FJMCK/mk

FiLlG-E‘B-EBB? BE:J.SPM From: 15616889985 ID= PaeezBBE R=96'/-

F'%SGEB:@¢QW-SOLGBSDl\/ll\/l NDdéEBil'G`htB,BTPREET@r@Gl anFLSDUC§:k@B§QWZOO? Page 5 CFF51

LAW OFFICES OF FRANK J. MCKEOWN, JR., P.A.

CONCOURSE TOWER 1
SUITE 701
2000 PALM BEACH LAKES BOULEVARD
WEST PALM BEACH, FLORIDA 33409

FRANK J. Md<sowN, JR. Teiephone No. (561) 832-5650
BOARD <IRTIFIED cIvIL TRIAL A'lTORNE¥ (561) 688-9333
sPEclALIzING lN EMPLOYMm'r LmGATIoN (561) 721-3724

Facsim'ie Na. (551) 688-9935

FA IMILETRA SM SI NCOVER HEET

DATE: 8/29/2007 2:11 PM

TO: Greg Shavilz, Esq.

FAX: 561.447.8831

FROM: Frank J. McKeown, Jr., Esq.

RE: Sullivan vs. Lana Marks. LTD, Inc.

TOTAL NUMBER OF PAGES (INCLUDING THIS PAGE): -- 2

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